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                                                                            6   Attorneys for Defendant
                                                                                STEPHEN VUONG
                                                                            7

                                                                            8                                   UNITED STATES DISTRICT COURT
                                                                            9                                NORTHERN DISTRICT OF CALIFORNIA
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




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                                       180 Montgomery Street, Suite 1200
                                        San Francisco, California 94104




                                                                           11   CUIHUA LUO, an individual,                        Case No. 3:22-cv-02981-TSH
                                                                           12                            Plaintiff,               JOINT STATUS REPORT
                                                                           13        v.                                           Hon. Thomas S. Hixson
                                                                                STEPHEN VUONG, an individual
                                                                           14                                                     Trial: Not Set
                                                                                                         Defendant.
                                                                           15

                                                                           16
                                                                                          Pursuant to the Court’s Order (Dkt. No. 50), the parties to jointly submit this Status
                                                                           17
                                                                                Report.
                                                                           18
                                                                                PROCEDURAL STATUS
                                                                           19
                                                                                          Plaintiff’s statement:
                                                                           20
                                                                                          This is an unlawful seizure case. Plaintiff investor alleges that Defendant police officer
                                                                           21
                                                                                unlawfully seized Plaintiff’s approximately $10 million cryptocurrency. Defendant police officer
                                                                           22
                                                                                denies the allegation and claims that the seizure was first consensual and later authorized by a
                                                                           23
                                                                                state court warrant issued by a Contra Costa County judge.
                                                                           24
                                                                                          Most recently, the Contra Costa County DA declined prosecution of any alleged
                                                                           25
                                                                                wrongdoing arising from Plaintiff’s purchase of the underlying cryptocurrency from various
                                                                           26
                                                                                online cryptocurrency exchanges.
                                                                           27
                                                                                          On February 9, 2024, Hon. Rebecca Hardie at the Contra Costa Superior Court ordered
                                                                           28
                                                                                                                                                               JOINT STATUS REPORT
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                                                                            1   the cryptocurrency released and “vacate “the state court warrant.
                                                                            2          The Defendant Pollice officer, however, obtain a different warrant from a federal judge.
                                                                            3          Plaintiff believes this is judge-shopping to delay the release of property to Plaintiff;
                                                                            4   Defendant believes this is legitimate law enforcement activity. Plaintiff’s undersigned counsel is
                                                                            5   working on, similarly, quashing the federal warrant.
                                                                            6          In sum, the case is not at issue, and the parties respectfully the Court continue staying this
                                                                            7   case, pending Plaintiff’s efforts to quashing the federal warrant.
                                                                            8          Defendant’s statement:
                                                                            9          Plaintiff filed her operative, First Amended Complaint on August 20, 2022, alleging one
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                                                                           10   cause of action for unlawful seizure. (Dkt. No. 15). Defendant filed his operative, first amended
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                                        San Francisco, California 94104




                                                                           11   answer on November 28, 2022 (Dkt. No. 41).
                                                                           12          The parties participated in a Settlement Conference before Magistrate Judge Sallie Kim on
                                                                           13   November 30, 2022. The case did not settle. (Dkt. No. 42). On December 18, 2023, Judge
                                                                           14   Thomas S. Hixson vacated the pretrial and trial deadlines. (Dkt. No. 45).
                                                                           15   RELATED STATE COURT PROCEEDING
                                                                           16          Plaintiff’s statement:
                                                                           17          The Contra Costa County DA having declined prosecution of any alleged wrongdoing
                                                                           18   arising from Plaintiff’s purchase of the underlying cryptocurrency from various online
                                                                           19   cryptocurrency exchanges, on February 9, 2024, Hon. Rebecca Hardie at the Contra Costa
                                                                           20   Superior Court ordered the cryptocurrency released and “vacate “the state court warrant.
                                                                           21          Defendant’s statement:
                                                                           22          Plaintiff filed a motion to unseal and quash the underlying state-level search warrant in
                                                                           23   Contra Costa Superior County on December 1, 2022. At a hearing on February 9, 2024, the
                                                                           24   Court denied the motion to unseal and quash the state search warrant.
                                                                           25   PLAINTIFF’S STATEMENTS
                                                                           26          Plaintiff believes Defendant Police Officer has repeatedly engaged in judge-shopping to
                                                                           27   delay the release of property to Plaintiff. Now that the state-warrant has been removed, Plaintiff’s
                                                                           28   undersigned counsel is working on, similarly, quashing the federal warrant.
                                                                                                                                                             JOINT STATUS REPORT
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                                                                            1          For example, Plaintiff has Defendant to provide contact information of the federal law
                                                                            2   enforcement allegedly overseeing the federal warrant. Defendant refused to provide even the
                                                                            3   email or phone number of the federal officers alleged involved.
                                                                            4   DEFENDANT’S STATEMENTS
                                                                            5          Originally scheduled to be heard on December 28, 2022, the matter has been rescheduled
                                                                            6   multiple times to accommodate Plaintiff. She is a Chinese national and may come testify at the
                                                                            7   hearing. According to counsel for Plaintiff, she has applied for a visa to come to the United States
                                                                            8   to address the state court proceeding but has been denied twice. It is Defendant’s position that
                                                                            9   Plaintiff must be present in person for any trial on this matter.
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                                                                           10          On September 28, 2023, a federal seizure order was signed by United States Magistrate
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                                        San Francisco, California 94104




                                                                           11   Judge Moxila Upadhaya of the District of Columbia to freeze and seize the funds of Plaintiff’s
                                                                           12   Binance account. On October 6, 2023, Binance was served with a copy of the federal warrant and
                                                                           13   seizure order. An amended seizure order was obtained and subsequently re-served on Binance to
                                                                           14   correct a typo in an ID number for the account.
                                                                           15          It is Defendant’s understanding that the funds from the Binance account have now been
                                                                           16   fully transferred over to the Department of Justice pursuant to the seizure order.
                                                                           17   JOINT STATEMENTS
                                                                           18          The parties request that trial and pre-trial deadlines be reset following the vacating of the
                                                                           19   February 2024 trial as part of the Court’s most recent Order (Dkt. 45).
                                                                           20                                                   Respectfully submitted,
                                                                           21
                                                                                Dated: March 1, 2024                            ALLEN, GLAESSNER,
                                                                           22                                                   HAZELWOOD & WERTH, LLP
                                                                           23
                                                                                                                                By:    /s/ Dale L. Allen, Jr.
                                                                           24                                                         DALE L. ALLEN, JR.
                                                                                                                                      MATTHEW T. MATEJCEK
                                                                           25                                                         Attorneys for Defendant
                                                                                                                                      STEPHEN VUONG
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                                                                            2   Dated: March 1, 2024               APTUM LAW
                                                                            3
                                                                                                                   By:     /s/ Zheng Liu
                                                                            4                                            ZHENG LIU
                                                                                                                         JINGYI GUO
                                                                            5                                            Attorneys for Defendant
                                                                                                                         CUIHUA LUO
                                                                            6
                                                                                                                         STEPHEN VUONG
                                                                            7

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